Case 1:25-mj-00143-WBP                             Document 12                  Filed 03/06/25                 Page 1 of 1 PageID# 23

AO 470(8/85)Order ofTemporary Detention




                              UNITED STATES DISTRICT COURT


                                               EASTERN DISTRICT OF VIRGINIA




UNITED STATES OF AMERICA




                        V.                                                         ORDER OF TEMPORARY DETENTION
                                                                                    PENDING HEARING PURSUANT TO
                                                                                    BAIL REFORM ACT




                                                                                   CASE NO.
                                                                                                          •                   - H3

            Upon motion of the United States Government, it is hereby ORDERED that

a detention hearing is set for                                      ^^                               at          Q           Q        before
the Honorable William B. Porter. United States Magistrate Judge in Courtroom 400
                                               Name of Judicial Officer



located at 401 Courthouse Square, Alexandria, Virginia. Pending this hearing, the
                                               Localion of Judicial Officer


defendant shall be held in custody by the United States Marshal

C                                                                                              J and produced for the hearing.
                        Other Custodial Officia]




Date:
                                                                                                                  Judicial Officer




•If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon motion of the Government,
or up to five days upon motion of llie defendant. 18 U.S.C. § 3142(0(2).
          A hearing is required whenever the conditions set forth in 18 U.S.C § 3142(0 are present. Subsection (I) sets forth the grounds that
may be asserted only by the attorney for the Government; subsection (2)states that a hearing is mandated upon the motion of the attorney for the
Government or upon the judicial officer's own motion if there is a serious risk that the defendant(a) will flee or (b) will obstruct or attempt to
obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.
